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                                                                                 FILED
                                                                          US DISTRICT COURT
                                                                          WESTERN DISTRICT
                                                                            OF ARKANSAS
                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS                  Jul 16, 2020
                                   HOT SPRINGS DIVISION
                                                                         OFFICE OF THE CLERK

LARRY LOVELL and MELISSA LOVELL                                                         PLAINTIFFS
                                                           6:20CV6074
        vs.                                    Case No. __________________

JAMES ALBERT WARD III, PILOT TRAVEL
CENTERS, LLC and JOHN DOE                                                             DEFENDANTS


                                           NOTICE OF REMOVAL

        COMES Defendant, Pilot Travel Centers LLC, and for its Notice of Removal of this action

pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 from the Circuit Court of Clark County,

Arkansas, to United States District Court for the Western District of Arkansas, Hot Springs

Division, states:

        1.       This action was commenced on July 1, 2020, when Plaintiffs filed their Complaint

seeking damages in the Circuit Court of Clark County, Arkansas.

        2.       This action is pending in Clark County Circuit Court, Case No. 10CV-20-81,

captioned as Larry Lovell et al., v. Pilot Travel Centers LLC, et al.

        3.       Plaintiffs purportedly served Pilot Travel Centers, LLC with a Summons and

Complaint for Damages on or about July 13, 2020. No other party has been joined and served.

        4.       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Pilot Travel Centers, LLC files

this Notice of Removal of the state court civil action that is described below, based on diversity

jurisdiction. 28 U.S.C. § 1332.

        5.       This Notice of Removal is timely filed under 28 U.S.C. § 1446(b) having been filed

within thirty (30) days of Pilot Travel Centers, LLC’s receipt of Summons and Complaint seeking

damages against the defendants.
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       6.      A copy of the Notice of Removal is being filed with the Circuit Court of Clark

County in the underlying matter and a copy of the Notice of Removal is attached hereto as

Exhibit A.

       7.      Copies of all pleadings and process filed in this action with the Clark County

Circuit Court are attached hereto as Exhibit B.

       8.      In their Complaint, Plaintiffs assert an amount in controversy that exceeds

$75,000, exclusive of interest and costs.

       9.      Plaintiffs are citizens of the State of Texas.

       10.     Pilot Travel Centers, LLC is a Delaware limited liability company with its principal

place of business in Tennessee and is, therefore, a citizen of Tennessee. Co-defendant Ward is

neither a citizen of Texas nor a citizen of Tennessee.

       11.     There is complete diversity of citizenship between Plaintiffs and Pilot Travel

Centers, LLC, the only Defendant that is joined and served. This Court has jurisdiction over this

civil action under 28 U.S.C. § 1332.

       12.     This Court is the appropriate Court for removal of this action under 28 U.S.C.

§ 1446(a).

       13.     The United Stated District Court for the Western District of Arkansas, Hot

Springs Division, embraces Clark County, the county in which the state court action is now

pending. Thus, this action may be removed to this Court pursuant to 28 U.S.C. § 1441.

       14.     The amount in controversy exceeds $75,000 exclusive of interest and costs.

       15.     Undersigned counsel states that this removal is well grounded in fact, warranted by

existing law, and not interposed for any improper purpose.



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       16.     All procedural requisites for removal have been met. Accordingly, removal to the

United States District Court under 28 U.S.C. § 1441 is proper and effective hereby.

       WHEREFORE, Defendant, Pilot Travel Centers LLC, gives notice of removal of this action

to this Court and respectfully requests that this Court grant Defendant all just and proper relief.


                                              Respectfully submitted,

                                              BARBER LAW FIRM PLLC
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                                              By:        /s/ J. Carter Fairley
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                                                         ATTORNEYS FOR DEFENDANTS

                                       CERTIFICATE OF SERVICE

        I hereby state that on this 15th day of July, 2020, I have electronically filed the foregoing
with the Clerk of the Court and such filing shall be forwarded via email to all counsel of record
herein:

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                                                         /s/ J. Carter Fairley
                                                         J. Carter Fairley




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